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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                           AT BOWLING GREEN

                 CRIMINAL ACTION NO. 1:06CR-00024-TBR-(8)

UNITED STATES OF AMERICA                                                    PLAINTIFF

VS.

DERRICK LANDER                                                            DEFENDANT


                       REPORT AND RECOMMENDATION
                        CONCERNING PLEA OF GUILTY


      The Defendant, by consent, has appeared before me pursuant to Rule 11, Federal

Rules of Criminal Procedure, and has entered a plea of guilty to Counts One (1) and

Nineteen (19) of the Twenty-Eight-Count Superseding Indictment. After cautioning and

examining the Defendant under oath concerning each of the subjects mentioned in Rule

11, I determined that the guilty plea was knowledgeable and voluntary and that the

offense charged is supported by an independent basis in fact containing each of the

essential elements of such offense. I, therefore, recommend that the plea of GUILTY be

accepted and that the Defendant be adjudged GUILTY and have sentence imposed

accordingly.

      ENTERED this June 27, 2007
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                                        NOTICE

       Failure to file written objections to this Report and Recommendation within (10)

days from the date of its service shall bar an aggrieved party from attacking such Report

and Recommendation before the assigned United States District Judge.

28 U.S.C. 636(b)(1)(B).

       Date of Service: June 27, 2007




Copies to:

AUSA Jo E. Lawless
US Marshal
US Probation
Mr. Charles Grundy
Kelly Waldon, Case Manager




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